Case 2:24-cv-00785-DJC-AC Document6 Filed 06/12/24 =i 1 of 13

FILED

UNITED STATES DISTRICT COURT JUN 12 2024

EASTERN DISTRICT OF CALIFORNIA CLERK, U.S. DISTRICT COUR
EASTERN OISTR It OF CALIFOHINIA
BY

DEPUTY CLERK

DEAN ROBERTS., ) Case No.: 2:24-CV-00785-DJC-AC PS
)
Plaintiff, ) AMENDED COMPLAINT

VS. )
MIDLAND CREDIT MANAGEMENT, INC _ )
)
Defendant. )

) Jury Trial: Kl Yes L] No
)
)
)
)
)
)
)
)
)

INTRODUCTION

1. This is a civil action for actual, punitive, statutory damages and cost brought by Dean
Roberts (“Plaintiff”) an individual consumer, against the defendant, Midland Credit Management

(hereinafter Midland) for violations of the Fair Debt Collection Practices Act, 15 U.S.C § 1692 et

seq.

2. Congress found it necessary to pass the FDCPA due to rampant abusive practices by

dishonorable debt collectors. 15 USC § 1692 is entitled "Congressional findings and declaration

of purpose" and it states as follows:

COMPLAINT FOR A CIVIL CASE.- 1

to

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 2 of 13

(a) There is abundant evidence of the use of abusive, deceptive, and unfair debt
collection practices by many debt collectors. Abusive debt collection practices contribute to the
number of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of
individual privacy.

(b) Existing laws and procedures for redressing these injuries are inadequate to protect

consumers.

(c) Means other than misrepresentation or other abusive debt collection practices are
available for the effective collection of debts.

(d) Abusive debt collection practices are carried on to a substantial extent in interstate

commerce and through means and instrumentalities of such commerce. Even where
abusive debt collection practices are purely intrastate in character, they nevertheless directly
affect interstate commerce.

(e) Itis the purpose of this title to eliminate abusive debt collection practices by debt
collectors, to insure that those debt collectors who refrain from using abusive debt collection
practices are not competitively disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses.

JURISDICTION AND VENUE

3. Jurisdiction of this court arises under 15 U.S.C § 1692k(d), and 28 U.S.C. § 1331.
Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because a substantial
part of the events, omissions, or conduct giving rise to Plaintiff claim occurred in this judicial

district. Defendant,Midland Credit Management INC transact business in Rancho Cordova, CA.

COMPLAINT FOR A CIVIL CASE - 2
Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 3 of 13

4. The Court has supplemental jurisdiction of any state law claims pursuant to 28 U.S.C.

bt

§1367.

PARTIES

5. Plaintiff Dean Roberts is a natural person and consumer as defined by 15 U.S.C. §

7@ 1692a(3), residing in Rancho Cordova, CA.

6. Upon information and belief, Midland Credit Management Inc principal office is
located at 350 Camino de la Reina, Suite 300 San Diego, CA and accepts service of process at

Corporation Service Company 2710 Gateway Oaks Drive, Sacramento, CA 95833 .

i3 7. Defendant Midland is a “debt collector” as that term is defined by 15 U.S.C. §

1 49 1692a(6).

1S

6 8. The acts of Defendant as described in this complaint were performed by Defendant or
on Defendant’s behalf by its owners, officers, agents, and/or employees acting within the scope

M of their actual or apparent authority. As such, all references to “Defendant” in this Complaint

8 shall mean Defendant or their owners, officers, agents, and/or employees.

19

20

2} FACTUAL ALLEGATIONS

COMPLAINT FOR A CIVIL CASE - 3.

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 4 of 13

> 9. Prior to this action giving rise, Plaintiff allegedly incurred a financial obligation with

3 Fingerhut Webbank for a personal credit account used for household purposes and therefore is a
“debt” as that term is defined by 15 U.S.C § 1692a(5).

4

5

10. Sometime thereafter, Defendant allegedly acquired the right to collect or was

6 assigned the right to collect on the subject defaulted debt.

7
8 11. On or about January 9th, 2024, Plaintiff received a letter from the defendant Midland
9 in an attempt to collect an alleged debt from Plaintiff.
10
12. On January 16th, 2024, Plaintiff sent a letter to Defendant inquiring about the
| contents of the letter Defendant sent as listed above. This letter was received by Midland on
12 1-19-2024 certified mail #7018309000062467720.
[3
14 13. In the letter Plaintiff indicated to Defendant that email is the only convenient mode of
is communication for him. The plaintiff included a preferred contact email within his letter.
16
14. In the letter Plaintiff notified Defendant that sending letters to his address is an
iM inconvenient place.
L$
19 15. Demonstrating disregard for the Plaintiff's rights under the FDCPA, particularly 15

20M USC § 1692c(a)(1) and Regulation F, Midland Credit Management audaciously dispatched a

>] letter correspondence to Plaintiff's address dated January 23, 2024, to the Plaintiff's residence.

COMPLAINT FOR A CIVIL CASE - 4

OG

Z

16

19

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 5 of 13

16. Defendant's letter was sent to Plaintiff in an attempt to collect a debt. This is

indicated in the heading of the letter correspondence sent to the Plaintiff.

17. Defendant knew that the letter to Plaintiff's address was an inconvenient place for

communication.

18. Defendant through its debt collector sent a letter to Plaintiff dated May 17th, 2024

indicating an amount allegedly owed by the Plaintiff of 2,042.03.
19. In previous correspondence Midland alleged Plaintiff owed 1,992.03.

20. Plaintiff has never owed either amount to Defendant and has not received any proof
of the amount owed or Defendant's ownership of an account owed by Plaintiff after numerous

requests.

21. Defendant has engaged in false, deceptive, and misleading representations of the

character, amount, and legal status of a debt.

22. Defendant's actions invaded Plaintiff's privacy, and caused emotional distress, loss of |

time, anxiety, and other costs.

23. Midland's reliance on the Bona Fide Error defense under 15 U.S.C. § 1692k(c) is

undermined by their intentional attempts to collect debt, ignoring the plaintiff's repeated requests |

COMPLAINT FOR A CIVIL CASE - 5

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 6 of 13

for email communication only and sending letters to an inconvenient place. Defendant also
willfully ignored Plaintiff's request for proof of ownership of the alleged debt. This suggests
deliberate violations, casting doubt on Midland's claim of unintentional error and the

effectiveness of its procedures to prevent such mistakes.

24. Pursuant to 15 § U.S.C 1692c(a)(1), a debt collector may not communicate with a
consumer at any place known to be inconvenient to the consumer. Midland was aware of the
Plaintiff's specified email communication preference and still employed mail as a means of
contact. This abusive manner in which they communicated with the Plaintiff violated the

Plaintiff's right to privacy under the FDCPA.

25. If Midland had sent the requested information to Plaintiff via email instead of
physical mail, Plaintiffs privacy would not have been invaded. Midland intentionally ignored
Plaintiff's notification and continued to attempt to collect the alleged debt through its own
preferred means and not the Plaintiff's, willfully depriving him of his rights under the FDCPA

and Regulation F.

26. Defendant’s actions are barred by Regulation F § 1006.14(h)(1), which prohibits a
debt collector from communicating or attempting to communicate with a person in connection
with the collection of any debt through a medium of communication if the person has requested

that the debt collector not use that medium to communicate with the person.

27. Midland's attempt to collect a debt at Plaintiff's physical residence is an invasion of

Plaintiff's right to privacy and right to be free from unreasonable intrusion.

COMPLAINT FOR A CIVIL CASE - 6

bh

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 7 of 13

28.Midlands collection efforts with respect to the alleged debt caused Plaintiff to suffer
concrete and particularized harm, inter alia, because the FDCPA provides Plaintiff with the
legally protected right to cease communications and chose a preferred medium of

communication to protect his right to privacy.

ARTICLE HT STANDING

29. The emotional distress Plaintiff experienced is a sufficient concrete injury to establish
Article III standing. See Mayfield v. LTD Fin. Servs., L.P., No. 4:20-CV-01966, 2021 WL
4481089, at *4 (S.D. Tex. Sept. 30, 2021) (citing Rideau v. Keller Indep.Sch. Dist., 819 F.3d 155,
169 (5th Cir. 2016) (“[E]motional harm satisfies the ‘injury in fact ‘requirement of constitutional
standing.”’)) (additional internal quotation marks omitted); see also Smith v. Moss Law Firm,
P.C., No. 18-2449, 2020 WL 584617, at *5 (N.D. Tex. Feb.6, 2020) (“legal costs, anxiety, and
worry” caused by defendant's alleged FDCPA violation were concrete and particularized injuries

for purposes of FDCPA claim).

30. Plaintiff has established Article II] standing to bring his FDCPA claim against
Midland because Defendant's communications in an attempt to collect an alleged debt constitute
an unwanted intrusion upon his solitude, seclusion, and peace and quiet, which are common law |
analogues to the FDCPA violations asserted below. See Vazzano v. Receivable Mgmt. Servs.,
LLC, 621 F. Supp. 3d 700, 709 (N.D. Tex. 2022) (receiving an unwanted letter “has a ‘close
relationship’ to the type of harm protected by the common law tort of intrusion upon seclusion

(protecting against intrusion into private solitude)) (citing TransUnion LLC v. Antoniarez, ——

COMPLAINT FOR A CIVIL CASE - 7

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 8 of 13

1 U.S. —, 141 S. Ct. 2190, 2204 (2021)) (also citing Gadelhak v. AT&T Servs., Inc., 950 F.3d
fa 458, 462 (7th Cir. 2020) (Barrett, J.) (“The harm posed by unwanted text messages is analogous

to that type of intrusive invasion of privacy.”)

4
COUNT 1 VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
5 15 U.S.C § 1692d DEFENDANT MIDLAND CREDIT MANAGEMENT INC.
6 31. All preceding paragraphs are realleged.
7
8 32. Defendants violated 15 USC §1692d by engaging in abusive, harassing, and
9 oppressive conduct.
[0
33. In order to establish a violation of Section 1692d of the FDCPA, a consumer need not
lI
prove intentional conduct by the debt collector. See Ellis v. Solomon & Solomon, P.C., 591 F.3d
[2

130, 135 (2nd Cir. 2010); Horkey v. J.V.D.B. & Assocs., Inc., 333 F.3d 769, 774 (7th Cir.2013)
13 (“[Plaintiff] points to no evidence in the record regarding [Defendant’s] intent, which is just as

| 4[§ well, because intent is irrelevant” in a § 1692d claim).

34. “Instead, applying an objective standard, as measured by the ‘least sophisticated
consumer, ‘the consumer need only show that the likely effect of the debt collector’s

communication or conduct could be construed as harassment, oppression or abuse.” See Lee v.

It .
8 Credit Mgmt., LP, 846 F. Supp. 2d 716, 721 (S.D. Tex. 2012).
19
20 35. The likely effect of Defendant’s debt collection efforts, as measured by the “least

> | sophisticated consumer” standard, was “to harass, oppress, or abuse” Plaintiff.

COMPLAINT FOR A CIVIL CASE - 8

baa

7

13

19

Case 2:24-cv-00785-DJC-AC Document 6 Filed 06/12/24 Page 9 of 13

36. Despite Plaintiff's explicit instruction to Midland that the only convenient methods of
communication were through email, Defendant continued to send letters to Plaintiff. This action,
which directly contravened Plaintiff's stated preferences, constitutes harassment and abuse under

the FDCPA, as it shows a willful disregard for Plaintiff's privacy and convenience.

37. Midlands violations of 15 USC §1692d caused Plaintiff actual damages of worry,

anxiety, emotional distress, loss of time, and invasion of privacy.

38. As a result of Defendants' violations of the Fair Debt Collection Practices Act,

Defendant is liable for actual and statutory damages under 15 U.S.C § 1692k.

COUNT II VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C § 1692c(a)(1) DEFENDANT MIDLAND CREDIT MANAGEMENT INC

39. All preceding paragraphs are realleged.

40. Midland communicated with Plaintiff at an unusual time or place, or a time or place
known, or which should be known to be inconvenient to Plaintiff, in violation of 15 U.S.C. §

1692c(a)(1) and Regulation F.

41. Specifically, Plaintiff informed Midland that the only convenient mode of
communication was through email. Despite this clear communication, Defendant continued to

send letters to Plaintiff, which was expressly stated as inconvenient. This action by Defendant

COMPLAINT FOR A CIVIL CASE - 9

Ko

Case 2:24-cv-00785-DJC-AC Document6 Filed 06/12/24 Page 10 of 13

shows a willful disregard for Plaintiff's stated communication preferences and constitutes a

violation of 15 U.S.C. § 1692c(a)(1).

42. Midlands violations of 15 USC §1692c(a)(1) caused Plaintiff actual damages of worry,

anxiety, emotional distress, loss of time, and invasion of privacy.

43. As aresult of the Defendants' violations of the Fair Debt Collection Practices Act,

Defendant is liable for actual and statutory damages under 15 U.S.C § 1692k.

COUNT Ill VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES
ACT 15 U.S.C § 1692f DEFENDANTS MIDLAND CREDIT MANAGEMENT INC

44. All preceding paragraphs are realleged.

45. Defendants used unfair or unconscionable means to collect or attempt to collect a debt,

in violation of 15 U.S.C. § 1692f.

46. In this instance, despite being expressly informed by Plaintiff that communication via
letters was inconvenient and that email was the preferred method, Midland continued to send
letters. This action disregards the Plaintiff's reasonable request and preferences, constituting an

unfair practice under 15 U.S.C. § 1692f.

47. Midlands violations of 15 USC §1692f caused Plaintiff actual damages of worry,

anxiety, emotional distress, loss of time, and invasion of privacy.

COMPLAINT FOR A CIVIL CASE - 10
fevered

ho

Case 2:24-cv-00785-DJC-AC Document6 Filed 06/12/24 Page 11 of 13

55. As aresult of Defendants' violations of the Fair Debt Collection Practices Act,

Defendant is liable for actual and statutory damages under 15 U.S.C § 1692k.

Wherefore,

that judgment be entered in favor or Plaintiff against Defendant for:

(A) Actual, statutory damages, cost pursuant to 15 U.S.C. § 1692k.

(B) For such other

Date:

COMPLAINT FOR A CIVIL CASE - 12

JURY DEMAND AND PRAYER FOR RELIEF

Plaintiff Dean Roberts, respectfully demands a jury trial and requests

legal and/or equitable relief as the Court deems appropriate.

Aagm Mel

Dan Roberts
deanroberts88 19@gmail.com
10501 Croetto Way APT 44

Rancho Cordova, CA 95670

Case 2:24-cv-00785-DJC-AC Document6 Filed 06/12/24 Page 12 of 13

| 48. As aresult of the Defendants’ violations of the Fair Debt Collection Practices Act, the

Defendant is liable for actual and statutory damages under 15 U.S.C § 1692k.

t.2

COUNT IV VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
4 15 U.S.C § 1692e(2)(A) DEFENDANTS MIDLAND CREDIT MANAGEMENT INC

4

49. All preceding paragraphs are realleged.

7 50. Defendant used false, deceptive, and misleading representations in an attempt to collect

gig an alleged debt Plaintiff does not owe to Defendant, in violation of 15 U.S.C. § 1692e(2)(A).

9
51. Defendant sent multiple collection letters to Plaintiff, each stating different amounts
10
allegedly owed.
1}
12

52. The discrepancies in the amounts stated in Defendant’s collection letters are false,

[3 misleading, and deceptive, in violation of 15 U.S.C. § 1692e(2)(A).

I4

15 53. The Defendant's failure to provide proof of ownership of the alleged debt constitutes a

6 false representation of the character, amount, or legal status of the debt, in violation of 15 U.S.C. !
§ 1692e(2)(A).

V7

18 54. Midlands violations of 15 USC §1692e(2)(A) caused Plaintiff actual damages of worry, |

19 anxiety, emotional distress, and loss of time.

20

21

COMPLAINT FOR A CIVIL CASE - 1]

16

Case 2:24-cv-00785-DJC-AC Document6 Filed 06/12/24 Page 13 of 13

ELECTRONICALLY STORED INFORMATION REQUEST

This notice is to demand that you preserve all documents, tangible things and
electronically stored information (“ESI”) potentially relevant to any issues in the
above-entitled matter. This specifically includes, but is not limited to, all
information pertaining to the above matter, including specifically all recordings of
any telephone communication between your company and Plaintiff.

As used in this request, “you” and “your” or “your client” refers to your
organizations, and its predecessors, successors in interest, assignees, parents,
subsidiaries, divisions or affiliates, and their respective officers, directors,
employees, servants, agents, attorneys, and accountants.

Much of the information subject to disclosure or responsive to discovery is
stored on your client’s current and former computer systems and other media and
devices (such as: personal digital assistants, voice-messaging systems, online
repositories and cell phones).

Electronically stored information (“ESI”) should be afforded the broadest
possible definition and includes (for example and not as an exclusive list)
potentially relevant information whether electronically, magnetically or optically
stored.

This preservation obligation extends beyond ESI in yours or your client’s

care, possession or custody and includes ESI in the custody of others that is
subject to your client’s direction or control. You must notify any current or former
agent, attorney, employee, custodian or contractor in possession of potentially
relevant ESI to preserve such ESI to the full extent of your client’s obligation to do
so, and you must try to secure their compliance.

COMPLAINT FOR A CIVIL CASE - 13
